                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF TENNESSEE
                         KNOXVILLE DIVISION

  PRISON LEGAL NEWS, a project of
  the HUMAN RIGHTS DEFENSE
  CENTER,
                                                Case No. 3:15-cv-452
        Plaintiff,                              Chief Judge Varlan
                                                Magistrate Judge Shirley
  v.

  JAMES “J.J.” JONES, Sheriff of Knox
  County, Tennessee, in his official and
  individual    capacities;   RODNEY
  BIVENS, Assistant Chief Deputy of the
  Knox County Sheriff’s Office, in his
  official and individual capacities; and
  KNOX COUNTY, TENNESSEE,

        Defendants.


                PLAINTIFF’S MOTION AND MEMORANDUM
               FOR ATTORNEYS’ FEES, COSTS AND EXPENSES


        As the representative of the prevailing party in this litigation, Counsel for

  Plaintiff, Prison Legal News (“PLN”), respectfully move this Court under 28 U.S.C.

  § 1988 and other authority for an award of attorneys’ fees, costs, and expenses in the

  amount of $127,451.76. Plaintiff is the prevailing party in the litigation and has

  exercised sound billing judgment in reviewing the time records submitted in this

  cause. The grounds for this award are set forth herein.




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     I.      Introduction

          PLN is a not-for-profit project of the Human Rights Defense Center, which

  publishes a monthly, 72-page journal of corrections news and analysis by the same

  name: Prison Legal News. (See ECF 3, Ex. A – Decl. of Paul Wright, ¶¶ 2, 12). PLN

  also publishes books about the criminal justice system and legal issues affecting

  prisoners and distributes approximately 50 legal and self-help books to prisoners and

  the public. Id.

          At the start of this litigation, Defendants had a formal and informal postcard-

  only policy, requiring all incoming mail addressed to prisoners at the Knox County

  Jail (“Jail”), with the exception of legal mail, to be in the form of a “standard”

  postcard. Defendants’ written policy on prisoner mail also effectively banned

  publications sent by mail to prisoners that did not fit on a “standard” postcard. See

  ECF 3, Ex. B – Policy 12.2. Defendants’ written mail policy also banned all gift

  publications sent by third parties—including publishers—to prisoners, regardless of

  whether the publication is sent directly from the publisher to the prisoner. Id. at §

  (III)(K). Additionally, the Jail restricted delivery of books to prisoners unless they

  were sent from private donors/sources to the Library Unit, and even then, were

  subject to a very narrow size restriction of 6” x 9.” See ECF 3, Ex. C – Inmate

  Handbook, at 9. Moreover, Defendants’ policy failed to require or afford any notice

  to the publisher or other sender (like PLN) of incoming or outgoing mail when their



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  mail was censored. See ECF 3, Ex. A., Wright Decl., at ¶¶ 10-11; Ex. B., at §

  (III)(A). Further, the Inmate Handbook contained no appeal procedure for either the

  prisoner-addressee or the non-incarcerated sender. Id., at ¶¶ 10-11.

        Since November 2014, PLN mailed its monthly journal, informational

  brochures, fundraising packets, subscription renewal letters, and books by U.S. Mail

  to individual addressed prisoners at the Jail. See ECF 3, Ex. A, Wright Decl., at ¶

  10. However, the jail censored all the items that PLN mailed to multiple prisoners.

  Id. at ¶¶ 11, 12, 15, 17-18; Ex. E, Brown Decl., at ¶¶ 7-8; Ex. F, Davis Decl., at ¶¶

  7-8; Ex. G, Barner Decl., at ¶¶ 7-8. Defendants did not notify PLN of any procedure

  for challenging rejection decisions or even give PLN a reason for the rejections. Id.

  In all, Defendants censored at least 111 issues of the Prison Legal News journal, and

  informational brochure packets, subscription renewal letters, books, and fundraising

  packets (totaling 147 items) without affording PLN due process. Id. at ¶¶ 10-11, 14-

  15, 17-19.

        Consequently, on October 6, 2015, PLN filed suit against Defendants for their

  violation of its First and Fourteenth Amendment rights, along with a Motion for

  Preliminary Injunction. See ECF 1-3. Defendants also filed a Motion to Dismiss

  the official capacity claims against Defendants, to which PLN opposed. See ECF

  21. Defendants withdrew their Motion to Dismiss thereafter, and responded to

  Plaintiff’s Motion for Preliminary Injunction and filing an Answer to the Complaint



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  denying any wrongdoing. See ECF 25, 26. Defendants also filed a counterclaim

  seeking a declaration from the Court that it had a valid defense to Plaintiff’s claims.

  See ECF 25. After full briefing on the preliminary injunction motion and other

  pending motions, the parties agreed to attend private mediation and to stay discovery

  in the cause. See ECF 32-34. Furthermore, the Court in its order staying the case

  also denied all pending motions with leave to re-file upon lifting of the stay. See

  ECF 42. Mediation was held on April 8, 2016 but the parties were unable to reach

  an agreement. See ECF 37. Accordingly, the parties held a Rule 26(f) conference

  on April 14, 2016 and commenced discovery into the breath and scope of the

  censorship. See ECF 43.

        Soon thereafter, on October 13, 2016, Defendants filed an Amended and

  Restated Answer to the Complaint. See ECF 46. Defendants’ Amended and Restated

  Answer included an Admission of Liability by Knox County “individually and

  collectively with its official policy-makers Sheriff J. J. Jones and Chief Rodney

  Bivens in their official capacity…” Id. at 2. Knox County also acknowledged that

  it is “liable to Plaintiff under 42 U.S.C. §§ 1983 and 1988 for the implementation of

  its post-card only policy” and has indicated that it has “returned to the practice of

  allowing paper publications.” Id. at 2-3. Knox County has also reverted to a

  previous policy which allows “[c]ommunication, to and from inmates, through

  letters or postcards”, without restricting correspondence to postcards of a certain size



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  only. Id. at Ex. 1. Defendants further admit that in response to this litigation they

  “amended and revised [their] written policies to provide notice to the sender of any

  decision censoring publications, an opportunity to be heard, and for administrative

  and judicial review under the Tennessee Administrative Procedures Act. Id. Lastly,

  Defendants admit liability as to Plaintiff’s claim that it was denied equal protection

  under the law when Defendants allowed some publications into the Knox County

  Jail to the exclusion of all others, including those sent by PLN. Id. at 13.

        On June 26, 2017, the parties filed a stipulation on damages in the amount of

  $25,000.00. See ECF 48. Accordingly, given Defendants’ admission of liability as

  to Plaintiff’s free speech, due process and equal protection claims, as well as the

  stipulation on damages, the only matters left in dispute was injunctive relief,

  attorneys’ fees, costs and expenses. Thus, contemporaneous to the stipulation on

  damages, Plaintiff filed a Motion for Permanent Injunctive Relief. See ECF 49. The

  grounds for the injunctive relief rested solely on the issue of whether Defendants’

  voluntary cessation of their unconstitutional conduct mooted Plaintiff’s equitable

  claim such that the “allegedly wrongful behavior could not reasonably be expected

  to recur.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.

  167, 190 (2000). In response, Defendants’ filed a Motion to Compel Settlement

  Conference and a Motion to Treat PLN’s motion seeking injunctive relief as an

  Amended Complaint, to which PLN filed responses opposing both. See ECF 50-53.



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  The Court subsequently denied Defendants’ request to treat the motion as an

  Amended Complaint. See ECF 56. Then, Defendants filed a Motion for Summary

  Judgment which also included a Response to Plaintiff’s Motion for Permanent

  Injunction. See ECF 58. Three days later, and before the Court could rule on

  Defendants’ Motion for Settlement Conference, Defendants filed a Renewed Motion

  for Settlement Conference citing the same grounds as its initial motion. See ECF

  59. PLN accordingly filed responses to Defendants’ summary judgment motion, its

  opposition to the permanent injunction, and renewed Motion for Settlement

  Conference. See ECF 62, 64. Ultimately, the Court denied Defendants Motion for

  Summary Judgment and its requests for settlement conferences, as well PLN’s

  Motion for a Permanent Injunction, giving rise to the instant Motion for Attorneys’

  fees, costs and expenses. See ECF 65, 67.

     II.      Legal Discussion

           This Court is empowered to award reasonable attorneys’ fees and expenses to

  prevailing parties in civil-rights actions brought under section 1983. See 42 U.S.C.

  § 1988(b). The statutory presumption is that absent “special circumstances” that

  would render such an award “unjust,” a prevailing party under 42 U.S.C. § 1988

  “must” be awarded attorneys’ fees and expenses. See Indep. Fed. of Flight

  Attendants v. Zipes, 491 U.S. 754, 760-61 (1989) (holding that “in absence of special

  circumstances a district court not merely ‘may’ but must award fees to the prevailing



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  plaintiff”) (emphasis in original); Hensley v. Eckerhart, 461 U.S. 424, 429 (1983)

  (“[A] prevailing plaintiff should ordinarily recover an attorney’s fee unless special

  circumstances would render such an award unjust.”) (internal quotation marks

  omitted).

        There can be no dispute that Plaintiff is a prevailing party entitled to fees and

  costs pursuant to 42 U.S.C. 1988 for prevailing at trial court as to the factual liability

  against the Defendants. See, e.g., Hensley, 461 U.S. at 433. Additionally, the fact

  that Plaintiff did not obtain injunctive relief on its claims, does not diminish its right

  to receive an award for all reasonable time expended. Indeed, Plaintiff effectively

  ended the unconstitutional policies at issue. Id. at 434. Work on an unsuccessful

  claim cannot be considered to have been “expended in pursuit of the ultimate result

  achieved” where the plaintiff has presented distinctly different claims for relief

  based on different facts and legal theories. Id. at 435. But where the plaintiff’s

  claims for relief involve common facts or related legal theories, such that much of

  counsel’s time will have been devoted generally to the litigation as a whole, courts

  have held that there should be no reduction of requested fees. The Supreme Court

  explained in Hensley that:

        [m]any civil rights cases will present only a single claim. In other cases the
        Plaintiff’s claims for relief will involve a common core of facts or will be
        based on related legal theories. Much of counsel's time will be devoted
        generally to the litigation as a whole, making it difficult to divide the hours
        expended on a claim by claim basis. Such a lawsuit cannot be viewed as a
        series of discrete claims. Instead the district court should focus on the

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        significance of the overall relief obtained by the plaintiff in relation to the
        hours reasonably expended on the litigation. Hensley, 461 U.S. at 435. See
        also Thurman v. Yellow Freight Sys., 90 F.3d 1160, 1169 (6th Cir. 1996)
        (“When claims are based on a common core of facts or are based on related
        legal theories, for the purpose of calculating attorneys’ fees they should not
        be treated as distinct claims, and the cost of litigating the related claims should
        not be reduced.”).

        In this matter, even though Plaintiff did not receive injunctive relief, the claim

  is from a common nucleus of facts. The common nucleus of facts are whether

  Defendants policies denying prisoners enveloped mail, books and magazines,

  requiring all mail to be in the form of a postcard, and having no due process

  protections violated Plaintiff’s (and indeed all senders of mail) constitutional rights.

  Defendants’ admitted it violated Plaintiff’s First and Fourteenth Amendment claims,

  and even though no injunctive relief was granted, Plaintiff’s lawsuit effectively

  engendered Defendant to revise its policies to conform to constitutional principles.

  Nevertheless, as discussed infra, Plaintiff’s counsel exercised billing judgment by

  removing all time expended on the lawsuit subsequent to the Court’s entry of a

  stipulated judgment on damages.

        Accordingly, there is good reason for awarding fully compensatory fees to

  prevailing plaintiffs in civil-rights lawsuits: the award of fully compensatory fees is

  necessary to ensure adequate access to the justice system. “The purpose of § 1988 is

  to ensure ‘effective access to the judicial process’ for persons with civil rights

  grievances.” Hensley v. Eckerhart, 461 U.S. 424, 429 (1983); see also Perdue v.



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  Kenny A. ex rel. Winn, 130 S. Ct. 1662, 1676 (2010) (“Section 1988 serves an

  important public purpose by making it possible for persons without means to bring

  suit to vindicate their rights.”). The continued vitality of such access requires that

  the attorneys who risk undertaking these cases be fully compensated for their

  services. As a result, a reasonable fee under § 1988 is “one that grants the successful

  civil rights plaintiff a ‘fully compensatory fee,’ comparable to what ‘is traditional

  with attorneys compensated by a fee-paying client.’ ” Missouri v. Jenkins by Agyei,

  491 U.S. 274, 286 (1989) (internal citations omitted). Thus, all that remains for this

  Court is to determine the reasonableness of the fees sought.

            a. The amount of attorneys’ fees sought is reasonable

        This Court has substantial discretion in determining the reasonable fee. “It is

  central to the awarding of attorney’s fees under § 1988 that the district court judge,

  in his or her good judgment, make the assessment of what is a reasonable fee under

  the circumstances of the case.” Blanchard v. Bergeron, 489 U.S. 87, 96 (1989). An

  award of attorneys’ fees is reviewed for an abuse of discretion on appeal. Reed v.

  Rhodes, 179 F.3d 453, 469 n.2 (6th Cir. 1999).

        The first step in determining a reasonable fee is to calculate the so-called

  “lodestar” by multiplying (i) the number of hours reasonably expended on the

  litigation by (ii) a reasonable hourly rate. Blum v. Stenson, 465 U.S. 886, 888 (1984).

  A strong presumption exists that the lodestar represents a reasonable fee. Blanchard



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   v. Bergeron, 489 U.S. 87, 95 (1989). Notably, §1988 does not require attorneys’

   fees to be in proportion to the amount of damages recovered. City of Riverside v.

   Rivera, 477 U.S. 561, 580-81 (1986). Reasonable attorneys’ fees should compensate

   the work of paralegals and law clerks, in addition to the work of attorneys. Missouri

   v. Jenkins by Agyei, 491 U.S. 274, 285-86 (1989).

                   i. The hours expended are reasonable

   The first lodestar prong is whether the hours expended on the lawsuit are reasonable.

   See Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). “In order to calculate the

   reasonable hours expended, the prevailing party’s fee application must be supported

   by contemporaneous time records, affidavits, and other materials.” McDonald v.

   Pension Plan of the NYSA-ILA Pension Trust Fund, 450 F.3d 91, 97 (2d Cir. 2006).

   “Counsel for the prevailing party should make a good faith effort to exclude from a

   fee request hours that are excessive, redundant, or otherwise unnecessary. . . . Hours

   that are not properly billed to one’s client also are not properly billed to one’s

   adversary pursuant to statutory authority.” Id. (internal quotation marks omitted)

   (emphasis in original). Counsel for Plaintiffs have met this standard.

         Counsel for Plaintiffs seek payment for a total of 346.34 unpaid hours. The

   hours expended in this dispute are eminently reasonable. Counsel for Plaintiff who

   personally handled the case believes them to be reasonable. See Declaration of




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   Sabarish Neelakanta and Declaration of Tricia Herzfeld, attached hereto as Exhibits1

   and 2, respectively.

                   ii. The requested hourly rates are reasonable

         The second lodestar prong is that the requested hourly rates are reasonable.

   See Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). Whether an hourly rate is

   reasonable should be considered with reference to “the prevailing market rates in the

   relevant community.” Blum v. Stenson, 465 U.S. 886, 895 (1984). “A reasonable

   attorney’s fee under § 1988 is one calculated on the basis of rates and practices

   prevailing in the relevant market, i.e., ‘in line with those [rates] prevailing in the

   community for similar services by lawyers of reasonably comparable skill,

   experience, and reputation . . . .’ ” Missouri v. Jenkins by Agyei, 491 U.S. 274, 286

   (1989).

         The best indication of the “market” hourly rate for any given attorney is that

   attorney’s actual established hourly rate at which he bills and collects from paying

   clients. See Northcross v. Board of Ed. of Memphis City Schools, 611 F.2d 624, 638

   (6th Cir. 1979) (“In most communities, the marketplace has set a value for the

   services of attorneys, and the hourly rate charged by an attorney for his or her

   services will normally reflect the training, background, experience and skill of the

   individual attorney.”); see also Tomazzoli v. Sheedy, 804 F.2d 93, 98-99 (7th Cir.

   1986) (“For private counsel with fee-paying clients, the best evidence is the hourly



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   rate customarily charged by counsel or by her law firm.”); Dillard v. City of

   Greensboro, 213 F.3d 1347, 1354-55 (11th Cir. 2000) (“What [an attorney] charges

   clients is powerful, and perhaps the best, evidence of his market rate; that is most

   likely to be what he is paid as ‘determined by supply and demand.’”).

         The appropriate rate is each attorney’s current hourly rate at the time of the

   fee petition, rather than the attorneys’ historic hourly rates as they naturally

   increased over the course of the litigation. See Missouri v. Jenkins by Agyei, 491

   U.S. 274, 283-84 (1989) (recognizing that “compensation received several years

   after the services were rendered . . . is not equivalent to the same dollar amount

   received reasonably promptly as the legal services are performed,” and therefore

   holding that “an appropriate adjustment for delay in payment—whether by the

   application of current rather than historic hourly rates or otherwise—is within the

   contemplation of [section 1988]”); see also Barnes v. City of Cincinnati, 401 F.3d

   729, 745 (6th Cir. 2005). This requirement simply reflects the dual realities of

   inflation and the time value of money.

         In sum, the grand total of 346.34 hours expended by Counsel and staff for

   Plaintiffs is reasonable, and the hourly rates charged are reasonable. Accordingly,

   the total “lodestar” fee of $127,451.76 is presumptively reasonable. See Blanchard

   v. Bergeron, 489 U.S. 87, 95 (1989). This Court should award no less than that

   amount to Counsel for Plaintiffs.



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             b. The amount of costs and expenses is reasonable

         In the expense schedule, the Plaintiff indicates the expenses incurred to date.

   See Exhibit B to the Declaration of Sabarish Neelakanta, Exhibit 1. Section 1988

   has been broadly interpreted by the courts to permit the prevailing party to recover,

   as an element of reasonable attorney's fees, a broad range of litigation expenses that

   normally are charged separately to fee-paying clients, and are not considered part of

   office overhead.    Such recoverable expenses generally include postage, long-

   distance telephone calls, photocopying, transportation, food and lodging, Lexis or

   Westlaw research, messengers, depositions, transcripts, and express mail service.

   Northcross v. Board of Education, 611 F.2d 624, 639-40 (6th Cir. 1979), cert.

   denied, 447 U.S. 911 (1980). The holding in Northcross is still good law in the Sixth

   Circuit. Accordingly, Plaintiff is entitled to the costs and expenses in the amount of

   $8,553.26.

      III.   CONCLUSION

         As the representative of the prevailing party in this litigation, Counsel for

   Plaintiff respectfully moves this Court for an award of attorneys’ fees, costs and

   expenses.    The lodestar Attorneys’ fee request of $127,451.76 is eminently

   reasonable. It is the product of a reasonable number of hours expended for the

   representation and reasonable hourly rates. Similarly, an award of $8,553.26. in


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   costs and expenses is also reasonable. By granting this motion, this Court’s order

   will continue to serve the “important public purpose [of] making it possible for

   persons without means to bring suit to vindicate their rights.” Perdue v. Kenny A.

   ex rel. Winn, 130 S. Ct. 1662, 1676 (2010).



   Dated: January 16, 2018                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

         I, Sabarish Neelakanta, one of Plaintiff’s attorneys, certify that I caused a copy
   of the foregoing document to be served by operation of the Court’s Case
   Management/Electronic Case Files (CM/ ECF) system upon the following attorneys
   on January 16, 2018:

   David S. Wigler
   Deputy Knox County Law Director


   1
       Admitted pro hac vice.

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